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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

United States of America                         §
                                                 §
vs.                                              §   NO: AU:23-CR-00135(1)-RP
                                                 §
(1) Saint Jovite Youngblood                      §
                                               ORDER

       Before the Court is the defendant's Unopposed Motion to Continue docket call and jury
selection and trial (Clerk’s Doc. No. 38). The defendant was set for jury selection and trial on
October 23, 2023, but counsel is requesting that the hearings be reset because additional time is
needed to prepare. The Government does not oppose the continuance. The Court finds good cause
for this extension. ACCORDINGLY, the docket call is reset to April 5, 2024 at 9:00am and jury
selection and trial in this case is reset to April 15, 2024 at 9:30am. All plea agreements are due on
or before March 27, 2024, and motions due on or before March 1, 2024.


       Pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(A), the Court finds that the ends of
justice served by allowing the defendant the additional time in which to prepare for the hearing
outweigh the best interest of the public and the Defendant in a speedy trial. The Court's basis for
said finding is that the failure to grant such a continuance in this case would unreasonably deny the
Defendant’s counsel the reasonable time necessary for effective preparation, taking into account the
exercise of due diligence. See 18 U.S.C. § 3161(h)(8)(B)(iv). Thus, the Court ORDERS that the time
from October 23, 2023 and until April 15, 2024, be excluded under the Speedy Trial Act.

       SIGNED this 8th day of November, 2023.


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                                                      ROBERT PITMAN
                                                      UNITED STATES DISTRICT JUDGE
